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II. PROCEDURAL BACKGROUND

A. COMMENCEMENT OF CHAPTER 11 CASES

     On the Petition Date, the Debtors filed voluntary petitions under chapter 11 of the
Bankruptcy Code with the Bankruptcy Court. Pursuant to Bankruptcy Rule 1015, the Chapter
11 Cases have been consolidated for procedural purposes. The Debtors have continued in
possession of their respective properties and have continued to operate and maintain their
businesses as debtors in possession pursuant to section 1107 of the Bankruptcy Code.

     1. The Official Committee Of Unsecured Creditors

     On May 16, 2012, the U.S. Trustee appointed the Creditors’ Committee pursuant to
section 1102 of the Bankruptcy Code. The current members of the Creditors’ Committee are:
(1) Wilmington Trust; (2) Deutsche Bank Trust Company Americas; (3) The Bank of New
York Mellon Trust Company, N.A.; (4) MBIA Insurance Corporation; (5) Rowena L.
Drennen; (6) AIG Asset Management (U.S.), LLC; (7) U.S. Bank National Association;
(8) Allstate Life Insurance Company; and (9) FGIC.

     2. The Committee’s Rule 2004 Motion And Bankruptcy Court Order

     On June 1, 2012, the Creditors’ Committee filed the Committee Rule 2004 Motion.
Pursuant to the Committee Rule 2004 Motion, the Creditors’ Committee requested an order
for production of documents and testimony by, among others, the Debtors pursuant to Rule
2004. No objections to the Committee Rule 2004 Motion were filed. On June 5, 2012, the
Bankruptcy Court entered the Committee Rule 2004 Order.

     3. Examiner Motion, Order, And Appointment

     On June 4, 2012, Berkshire Hathaway filed the Examiner Motion requesting the
appointment of an examiner to investigate and report on the actions of the Debtors, including
the Debtors’ prepetition transactions with AFI, any claims that the Debtors may hold against
their officers or directors, any claims that the Debtors may hold against AFI’s officers and
directors, and any claims that the Debtors propose to release as part of their plan. The Debtors
and the Creditors’ Committee opposed the Examiner Motion. The U.S. Trustee filed a
response to the Examiner Motion, arguing that the appointment of an examiner was mandatory
under section 1104(c)(2) of the Bankruptcy Code because the Debtors’ unsecured debts, other
than debts for goods, services, or taxes, or owing to an insider, exceeded $5 million.1
1   Section 1104(c)(2) of the Bankruptcy Code provides, in pertinent part, that:
          If the court does not order the appointment of a trustee under this section, then at any time
          before the confirmation of a plan, on request of a party in interest or the United States trustee,
          and after notice and a hearing, the court shall order the appointment of an examiner to conduct
          such an investigation of the debtor as is appropriate . . . if. . . (2) the debtor’s fixed, liquidated,
          unsecured debts, other than debts for goods, services, or taxes, or owing to an insider, exceed
          $5,000,000.
    11 U.S.C. § 1104(c)(2).

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     On June 20, 2012, the Bankruptcy Court issued the Examiner Memorandum Opinion,
pursuant to which the Bankruptcy Court granted the Examiner Motion. On June 28, 2012, the
Bankruptcy Court entered the Examiner Order directing the U.S. Trustee to appoint an
examiner in the Chapter 11 Cases. In addition, the Examiner Order directed the examiner to
conduct an investigation. The U.S. Trustee appointed Arthur J. Gonzalez as examiner on
July 3, 2012. On that same date, the Bankruptcy Court entered the Examiner Approval Order,
pursuant to which the Bankruptcy Court approved the appointment of Arthur J. Gonzalez as
Examiner.

     4. The Examiner’s Retention Of Professionals

     On July 11, 2012, the Examiner selected Chadbourne & Parke LLP as his counsel,
subject to Bankruptcy Court approval. Thereafter, the Examiner selected Mesirow Financial
Consulting, LLC as his financial advisor, subject to Bankruptcy Court approval. In addition,
the Examiner selected Wolf Haldenstein Adler Freeman & Herz LLP as conflicts counsel due
to certain potential conflicts of Chadbourne & Parke LLP. In mid-April 2013, the Examiner
selected Leonard, Street & Deinard as special Minnesota counsel. The Bankruptcy Court
approved: (1) the retention of Chadbourne & Parke LLP nunc pro tunc to July 11, 2012 by
order dated August 9, 2012; (2) the retention of Mesirow Financial Consulting, LLC nunc pro
tunc to July 24, 2012 by order dated August 29, 2012; (3) the retention of Wolf Haldenstein
Adler Freeman & Herz LLP as conflicts counsel nunc pro tunc to October 15, 2012 by order
dated December 27, 2012; and (4) the retention of Leonard, Street & Deinard as special
Minnesota counsel nunc pro tunc to April 15, 2013 by order dated April 29, 2013.

     5. Scope Of The Investigation And Examiner Work Plan

     Pursuant to the Examiner Order, and in accordance with the Examiner Memorandum
Opinion, the Examiner was directed to conduct an investigation, the scope and timing of
which was to be determined by the Bankruptcy Court after the Examiner conferred with
various parties in interest. In the Examiner Memorandum Opinion, the Bankruptcy Court
noted that:

                 [t]he scope, timing and budget for the examiner’s investigation
                 will be set by the Court after the examiner is appointed and
                 confers with other parties in interest. In the first instance, the
                 scope of the investigation established by the [Committee Rule]
                 2004 Order sets the appropriate scope parameter for the
                 investigation, subject to later adjustment if necessary.2

Beginning on July 18, 2012, the Examiner conducted a series of meetings and telephonic calls
with representatives of the Debtors, the Creditors’ Committee, Berkshire Hathaway, AFI, and
certain holders of the Debtors’ Unsecured Notes. The principal purpose of these meetings was
to learn more about the Chapter 11 Cases and to ascertain each party’s preliminary views
2   Examiner’s Memorandum Opinion, at 6 n.4.

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regarding the scope and timing of the Investigation. The Examiner invited the parties to share
their views on these matters, as well as on the legal and factual issues implicated by the
Investigation.

     On July 24, 2012, the Bankruptcy Court held a Chambers conference at which the
Examiner and his counsel and counsel for various parties in interest presented their respective
views regarding the scope of the Investigation and estimates of the time necessary to complete
the Investigation and prepare a report. After the Chambers conference, the Examiner discussed
the scope of Investigation and the terms of the Examiner Scope Approval Order with the
various parties in interest. Thereafter, on July 27, 2012, the Bankruptcy Court entered the
Examiner Scope Approval Order setting forth the following minimum scope of the
Investigation:

            a.    all material prepetition transactions and all material verbal or
                  written agreements or contracts between or among the Debtors
                  on the one hand and any one or more of Ally Financial Inc.,
                  f/k/a GMAC LLC, and any of its current and former, direct and
                  indirect affiliates and subsidiaries (collectively, “AFI”),
                  Cerberus Capital Management, L.P. and any of its current and
                  former direct and indirect affiliates and subsidiaries including
                  Cerberus FIM, LLC, Cerberus FIM Investors LLC, and FIM
                  Holdings LLC (collectively, “Cerberus”) and/or Ally Bank, a
                  commercial state non-member bank chartered under the laws of
                  the State of Utah (f/k/a GMAC Bank) (“Ally Bank”) on the
                  other hand including (i) material agreements concerning
                  transfers of cash, assets, property, stock, contracts, or other
                  items of value including any servicing agreements, repurchase
                  transactions, exchange offers, hedging arrangements, derivative
                  agreements or contracts, swap agreements or contracts, or
                  foreign exchange agreements or contracts, (ii) any payments,
                  dividends or capital contributions, (iii) any extension of loans or
                  lines of credit including any factoring arrangements, (iv) any
                  debt, or liens related thereto, or the transfer, assignment,
                  repayment or forgiveness of such debt, (v) any claims and all
                  payments made on account of such claims, and (vi) any transfers
                  of cash, assets, property, stock, contracts, or other items of value
                  (collectively, the “Prepetition Transactions and Agreements”);3


3   The Examiner’s Investigation of certain of the Debtors’ entry into and performance under the “Consent
    Order,” “DOJ/AG Settlement” and “CMP,” each as defined and described in paragraphs 86 through 90 of the
    of the “Affidavit of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Support of
    Chapter 11 Petition and First Day Pleadings,” dated May 14, 2012 will be limited to the propriety of the
    allocation of obligations as among the Debtors and AFI under the “Consent Order,” “DOJ/AG Settlement”
    and “CMP.” (footnote appears in original).

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       b.     the negotiation and entry into any plan sponsor, plan support, or
              settlement agreement, the debtor-in-possession financing with
              AFI, and the stalking horse asset purchase agreement with AFI,
              and any servicing agreement with Ally Bank (collectively, the
              “Postpetition Transactions and Agreements”);

       c.     (i) the activities of the Debtors’ officers and board of directors
              (including any subcommittee thereof) concerning (A) the
              Prepetition Transactions and Agreements, (B) the Postpetition
              Transactions and Agreements, and (C) the investigation of the
              validity of claims against AFI, and (ii) the recruitment,
              compensation and indemnification of the Debtors’ officers and
              the members of the Debtors’ board of directors (including any
              subcommittee thereof);

       d.     the corporate relationships between or among the Debtors, AFI,
              Cerberus and/or Ally Bank and the conduct of each of these
              entities in connection with the Debtors’ decisions (i) to file (or
              to refrain from filing, or delaying the filing of) voluntary
              petitions under Chapter 11 of the United States Bankruptcy
              Code, (ii) to pursue (or refrain from pursuing) a sale of
              substantially all of their assets, and (iii) to enter into the
              Prepetition Transactions and Agreements and the Postpetition
              Transactions and Agreements;

       e.     all state and federal law claims or causes of action of the
              Debtors against current or former directors and officers of the
              Debtors, and against AFI and/or its insiders including current
              and former directors, officers, and shareholders;

       f.     all state and federal law claims or causes of action the Debtors
              propose to release or to be released as part of their plan
              including (i) preference and fraudulent transfer claims,
              (ii) equitable subordination claims, (iii) alter ego and veil
              piercing claims, (iv) debt recharacterization claims,
              (v) constructive trust and unjust enrichment claims, (vi) breach
              of fiduciary duty and aiding and abetting breach of fiduciary
              duty claims, (vii) securities law claims, and (viii) claims held by
              third parties, i.e., parties that are not affiliates of the Debtors,
              against current and former directors and officers of the Debtors
              and against AFI and its insiders including current and former
              directors, officers, and shareholders; and in respect of the claims
              identified in subclause (viii) of this paragraph [6], the Examiner
              will (A) investigate the merits of such claims, (B) analyze the
              sufficiency of the consideration to be provided for such third

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                   party releases, and (C) solicit the parties’ views concerning the
                   merits of such claims and the potential amount of damages
                   arising from such claims, but the Examiner will not attempt to
                   independently quantify such damages;

             g.    the value of the releases contemplated by the Debtors including
                   the releases by the Debtors’ estates of all claims against current
                   or former directors and officers of the Debtors, and against AFI
                   and its insiders including current and former directors, officers,
                   and shareholders, and the proposed releases by third parties of
                   claims against AFI; and

             h.    other matters affecting the Debtors’ assets, liabilities, and
                   financial condition including all intercompany claims and the
                   Debtors’ solvency, capital adequacy and ability to pay debts as
                   such debts become due at various dates prior to the Petition
                   Date.4

     Upon review of the Examiner’s Preliminary Statement, the Bankruptcy Court entered the
Examiner Scope Approval Order, pursuant to which the Bankruptcy Court (1) approved the
scope of the Investigation as set forth in the Examiner’s Preliminary Statement and
(2) required the Examiner to file a formal work plan. On August 6, 2012, the Examiner filed
the Examiner Work Plan. To address certain inquiries regarding the Examiner Work Plan, the
Examiner filed the Examiner Work Plan Supplement on August 23, 2012. The Examiner filed
the Examiner Work Plan Second Supplement and the Examiner Work Plan Third Supplement,
both describing modifications to the time frame for the preparation of the Report, on
November 26, 2012 and February 8, 2013, respectively. On April 5, 2013, the Examiner filed
the Examiner Work Plan Fourth Supplement containing an updated estimate for the fees of the
Examiner and his professionals.

B. CONDUCT OF THE INVESTIGATION

     1. Initial Stage Of The Investigation

     After reviewing the pleadings, the Examiner and his professionals began the
Investigation by conducting meetings with interested parties to learn the issues and the parties’
substantive positions and contentions.5 In addition, the Examiner entered into a provisional
confidentiality agreement with the Debtors in order to obtain immediate access to documents
they had already produced that were germane to the Investigation. Review of the documents
began upon receipt.

4   Examiner Scope Approval Order, Ex. A, at 3–5.
5   Several parties, including AFI, Wilmington Trust, the Creditors’ Committee, and the Debtors provided the
    Examiner and his professionals with written presentations and materials setting forth their respective positions
    and conclusions.

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     2. Rule 2004 Motion And Request For Production Of Documents
    In order to facilitate the Examiner’s ability to timely and efficiently complete a
comprehensive investigation and fulfill his duties, the Examiner filed the Examiner Rule 2004
Motion pursuant to which the Examiner requested an order:
                  (1) authorizing the Examiner to issue subpoenas for the
                      production of documents and the examination of persons
                      and entities determined by the Examiner to have
                      information relevant to the Investigation;
                  (2) establishing procedures governing responses to those
                      subpoenas;
                  (3) approving the establishment of the Document Depository, a
                      central document depository, and procedures to govern its
                      use; and
                  (4) approving the Protective Order, a uniform order governing
                      the Examiner’s discovery.
Cerberus and AFI filed limited objections to the Examiner Rule 2004 Motion. The Debtors
filed a statement with respect to the Examiner Rule 2004 Motion stating their support of the
Examiner’s request to establish the Document Depository and discovery protocol. The
Examiner filed a reply to the objections.
     On August 20, 2012, the Bankruptcy Court entered the Examiner Rule 2004 Order
pursuant to which, among other things, the Examiner was authorized to issue subpoenas
necessary to compel the production of documents and the testimony of witnesses in
connection with the Investigation. Pursuant to the Examiner Rule 2004 Order, subpoenaed
parties generally had ten days from the service of a subpoena to either (1) produce all
responsive documents requested in the Examiner’s subpoena, “as soon as is reasonably
practicable,” using “reasonable best efforts,” or (2) file an objection or response to the
subpoena with the Bankruptcy Court.6 Subpoenaed witnesses were directed to submit to oral
examination upon reasonable notice no more than fifteen days from the date of service of the
deposition subpoena.
     Pursuant to the Examiner Rule 2004 Order, the Examiner established and maintains the
Document Depository. The Document Depository is an electronic, Internet-accessible
resource that enables approved parties to download or otherwise obtain for review on the
software platform(s) of their choosing discovery materials produced to the Examiner in the
forms in which they were produced to the Examiner.
     In addition, the Bankruptcy Court approved the terms of the Protective Order that
governs the disclosure, discovery, production, and use of all discovery material provided to
the Examiner in the Chapter 11 Cases, including the information placed into the Document
6   Examiner Rule 2004 Order, at 2.

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Depository. The Protective Order serves as a uniform order governing all parties with access
to the Document Depository and protecting proprietary information from public disclosure
and from usage outside of the Chapter 11 Cases. The Protective Order alleviated the burden on
the Examiner of having to negotiate, enter into, and monitor numerous separate confidentiality
arrangements with a multitude of parties.

   3. Discovery Conducted In Furtherance Of The Investigation

       a. Document Requests And Subpoenas

     Discovery had already begun prior to the appointment of the Examiner. Specifically, on
June 11 and 12, 2012, the Creditors’ Committee had served Rule 2004 subpoenas on the
Debtors, AFI, and Cerberus. The Debtors and AFI had served responses and objections to
these subpoenas, and they had begun producing responsive documents.

     After discussions with interested parties, the Examiner agreed that the Creditors’
Committee’s Rule 2004 subpoenas would serve as his initial discovery requests.
Supplementing these initial requests, the Examiner propounded further formal written
discovery requests to the Debtors on September 4 and 13, 2012, and to AFI on September 4,
13, and 28, 2012. In addition, commencing on August 28, 2012, the Examiner served Rule
2004 subpoenas on numerous other parties.

     Parties began producing documents to the Examiner on a rolling basis in late July 2012
and continuing into April 2013. Given time constraints and practical limitations, where
reasonably requested by the producing party, the Examiner’s Professionals agreed to limit the
documents to be produced, by, among other things, designating specific e-mail custodians
whose e-mails would be produced. Notwithstanding the agreed-upon limitations, throughout
the course of the Investigation, and as discussed below, the Debtors, AFI, and other parties
responded to numerous follow-up document requests made by the Examiner’s Professionals.
For this reason, the Examiner is satisfied that the parties exercised reasonable efforts to
respond to the document requests, and that he obtained the substantial production of
potentially relevant documents.

     A full listing of the formal document requests listed by producing party, date of subpoena
or document request, approximate production date, and approximate volume, is set forth in the
table below:




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       b. Witness Interviews

     Beginning in early September 2012 and continuing through April 2013, the Examiner’s
Professionals conducted eighty-three witness interviews. Documents obtained in response to
the subpoenas and discovery requests were shown to the witnesses to facilitate their testimony.
The length of the interviews varied, ranging from several hours, to a full day. Some witnesses
were asked to, and did, return for further questioning on a second and, in a few cases, third
day, to explore topics not covered earlier or to explore a topic in greater detail, oftentimes
based on documents produced after the initial interview day. The interviews were audio taped
and transcripts were prepared by a court reporting service from the audiotapes. The transcripts
were not shared with any party. The transcripts are considered by the Examiner to be his work
product for purposes of conducting the Investigation.

     With one exception, all of the witnesses voluntarily attended the interviews. (A subpoena
was needed to compel the attendance of one individual, although, once served, the individual
agreed to testify without the need for a formal deposition.) All witnesses were represented by
counsel. Where the witness was a current or former officer of ResCap, typically, the witness
was represented by counsel for ResCap (Morrison & Foerster and Carpenter Lipps). Where
the witness was a current or former officer of AFI or Ally Bank, typically, the witness was
represented by counsel for AFI (Kirkland & Ellis). In some cases, a witness was represented
by more than one counsel, usually where the witness had dual or changing roles at ResCap,
AFI, and Ally Bank. In a handful of cases, witnesses who were former officers of ResCap or
AFI had counsel separate from ResCap’s or AFI’s counsel.

     The interviews were not conducted on notice, as a formal deposition would be, nor were
the procedures used typical of a formal deposition. No parties attended the interviews other
than the Examiner’s Professionals, the witness, the witness’ counsel, and, in some instances,
counsel for the party or parties for whom the witness had worked or was then working. One
session of one witness interview was conducted under oath. All other witness interviews were
unsworn proceedings.

     Given time constraints and practical limitations, the Examiner’s Professionals did not
interview every potentially relevant witness. However, given the number of witnesses
interviewed, the Examiner’s ability to use documents produced in discovery in the interviews,
and the follow-up interviews of several witnesses, the Examiner is satisfied that his
professionals interviewed the vast majority of the potentially relevant witnesses, concerning
the vast majority of relevant topics. A full listing of the interviews, by witness, affiliation, and
date, is set forth in the table below:




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       c. Additional Presentations By And Meetings With Interested Parties

     As noted above, at the start of the Investigation, the Examiner received initial written
presentations from, among others, AFI, Wilmington Trust, the Creditors’ Committee, and the
Debtors. Some of these written presentations were the subject of formal in-person
presentations at meetings with the Examiner’s Professionals. Subsequently, as explained in
more detail in Section VIII.A.2, the Examiner requested and received written submission
papers and damages letters from Third-Party Claimants regarding the existence, nature, and
damages of pending or potential Third-Party Claims.

     Beginning in late January 2013, after the Examiner’s Professionals had conducted a
substantial portion of the Investigation, the Examiner received further written and in-person
presentations from the Creditors’ Committee, AFI, and Wilmington Trust. In some instances,
parties provided follow-up to earlier presentations, at their own initiative or as requested by
the Examiner’s Professionals. In other instances, the Examiner’s Professionals provided in
advance of the meeting questions or topics to be addressed.

     In addition to more formal presentations, the Examiner and his professionals held
numerous meetings with interested parties throughout the course of the Investigation. In some
instances, meetings were initiated by the parties, and in others, by the Examiner’s
Professionals. Some meetings were telephonic, some in person. With the exception of those
meetings attended only by the Examiner’s Financial Advisors, the Examiner attended all
meetings, most in-person, some by telephone. In particular, the Examiner’s Financial Advisors
maintained an ongoing dialogue with the Debtors and their financial advisors to obtain and
discuss specific accounting and financial information needed for analysis. In addition to
several individual meetings, the Examiner’s Financial Advisors spent approximately two
weeks on site at the Debtors in April 2013 with management and ResCap’s financial advisors
to resolve any remaining information requests and discuss outstanding questions and issues.

    A listing of presentations and meetings is set forth in the table below:




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       d. Informal Document Requests

     As noted above, throughout the course of the Investigation, the Debtors, AFI, and other
parties responded to numerous follow-up document requests made by the Examiner’s
Professionals to supplement the documents produced in response to the Rule 2004 subpoenas
and other formal written document requests. In large part, the follow-up requests sought
specific documents or types of documents that fell within the scope of the Rule 2004
subpoenas and document requests. The follow-up requests were made by e-mail, sometimes
after in-person or telephonic meetings. In some cases, the parties supplemented prior
productions. In others, the Examiner was directed to documents the parties had already
produced within their voluminous productions. This informal discovery process, which was
only possible with the cooperation of the parties, was essential to the Investigation. And, as
also noted above, it is because of this process that the Examiner is satisfied that he obtained
the vast majority of potentially relevant documents.




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